              Case 8:16-bk-13001-TA                            Doc 9 Filed 07/29/16 Entered 07/29/16 17:16:18                           Desc
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 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:16-bk-13001
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 29, 2016                           X /s/ Timothy Campbell
                                                                       Signature of individual signing on behalf of debtor

                                                                       Timothy Campbell
                                                                       Printed name

                                                                       President and Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            FireForge, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               8:16-bk-13001
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           124,773.71

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           124,773.71


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       11,361,898.08


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           119,944.18

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           594,959.18


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         12,076,801.44




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:16-bk-13001
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                                   $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number
                   UnionBank
                   Orange Co. Retail Banking Treas Svcs
                   0699
                   P.O. Box 513840
                   Los Angeles, CA 90051-3840

                   Name on Account: FireForge, Inc. Spec                    Business MoneyMarket
           3.1.    Dept Acct FBO THL A10 Limited                            Account                      3728                                         $34.45


                   UnionBank
                   Orange Co. Retail Banking Treas Svcs
                   0699
                   P.O. Box 513840
                   Los Angeles, CA 90051-3840

                   Name on Account: FireForge, Inc. Spec                    Analyzed Business
           3.2.    Dept Acct FBO THL A10 Limited                            Checking                     6700                                    $10,674.45




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor           FireForge, Inc.                                                            Case number (If known) 8:16-bk-13001
                  Name

                    UnionBank
                    Orange Co. Retail Banking Treas Svcs
                    0699
                    P.O. Box 513840
                    Los Angeles, CA 90051-3840

                    Name on Account: FireForge, Inc. Spec
                    Dept Acct FBO THL A10 Limited
                                                                            Analyzed Business
           3.3.     /                                                       Checking                        6948                              $89.15



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                         $10,798.05
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security Deposit for Office Building Lease
                    27261 Las Ramblas, Suite 250
           7.1.     Mission Viejo, CA 92691                                                                                             $18,019.06



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                         $18,019.06
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         FireForge, Inc.                                                               Case number (If known) 8:16-bk-13001
                Name

           Name of entity:                                                          % of ownership
                     FireForge PTE, Limited, a company
                     organized under the laws of the Republic of
                     Singapore
                     UEN: 201107509M
                     71 Ayer Rajah Crescent
                     Singapore 139951
                     SINGAPORE
                     Application for Striking Off Approved:
           15.1.     6/21/2016                                                      100           %   Tax records                                $0.00


                     FH02 Limited, a company organized under
                     the laws of the United Kingdom of Great
                     Britain and Northern Ireland
                     18 South Street
                     London, W1K 1DE
                     UNITED KINGDOM
                     Application for Striking Off Approved:
           15.2.     6/21/2016                                                      100           %   Tax records                                $0.00


                     FirePub, Inc., a Delaware Corporation
                     27261 Las Ramblas, Suite 200
           15.3.     Mission Viejo, CA 92691                                        100           %   Tax records                                $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Miscellaneous Office Furniture and Fixtures
           attached as Exhibit "A" to Schedule B.                                           $0.00     Liquidation                        $17,201.60



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         FireForge, Inc.                                                               Case number (If known) 8:16-bk-13001
                Name



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Miscellaneous Computer Equipment attached
           as Exhibit "A" to Schedule B.                                                    $0.00    Liquidation                         $23,755.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $40,956.60
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Miscellaneous Leasehold Improvements
           attached as Exhibit "A" to Schedule B.                                           $0.00    Liquidation                                 $0.00




 51.       Total of Part 8.                                                                                                                 $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         FireForge, Inc.                                                               Case number (If known) 8:16-bk-13001
                Name

54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Office Building Lease
                     Property Location:
                     27261 Las Ramblas,
                     Suites 200, 220, 230,
                     and 250
                     Mission Veijo,                       Office Building
                     California                           Lease                        Unknown                                              Unknown




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Copyright
            Title: Atlas.
            Registration No.: TXu001866399 / 2013-09-23
            Description: Electronic File
            Copyright Claimant: FireForge, Inc.
            Authorship of Application: FireForge, Inc.
            Date of Creation: 2013                                                     Unknown                                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         FireForge, Inc.                                                              Case number (If known) 8:16-bk-13001
                Name

           Trademark
           Title: FIREFORGE
           Serial No.: 86089869
           Applicant: FireForge, Inc.
           Current Identificaiton: International Class 009:
           Computer game programs; computer game
           software; computer game software for use on
           mobile and cellular phones; computer games
           for video and computer games; downloadable
           coputer game programs; interactive
           multimedia computer game programs;
           interactive video game programs; video game
           software.
           Application Date: January 29, 2015                                          Unknown                                                  $0.00


           Trademark
           Title: MBER (The mark consists of standard
           characters, without claim to any particular
           font, style, size, or color.)
           Application Serial No. 86361171
           U.S. Serial No.: 86-089,866
           Owner: FireForge, Inc.
           Lapsed: June 10, 2016                                                       Unknown                                                  $0.00



 61.       Internet domain names and websites
           Website/Domain
           http://www.fireforgegames.com                                                    $0.00                                         Unknown



 62.       Licenses, franchises, and royalties

 63.       Customer lists, mailing lists, or other compilations

 64.       Other intangibles, or intellectual property
           Intellectual Property
           Zeus
           Partial Rights to Zeus
           Intellectual Property Value estimated by
           Debtor.                                                                      $5,000.00    Liquidation                          $5,000.00


           Intellectual Property
           Atlas
           Intellectual Property Value estimated by
           Debtor.                                                                    $50,000.00     Liquidation                        $50,000.00



 65.       Goodwill

 66.       Total of Part 10.                                                                                                         $55,000.00
           Add lines 60 through 65. Copy the total to line 89.

 67.       Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.       Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Commercial Property Insurance
            Name of Insured: FireForge, Inc. d/b/a FirePub
            Policy No. BFS (16) 56 01 02 51
            (Effective: 3/4/2015-3/4/2016)

            Location of Property Insured:
            27261 Las Ramblas, Ste. 200
            Mission Viejo, CA 92691

            Policy Limits: Tenant Improvements and Betterments
            Coverage - Building $154,500; Business Personal
            Property Coverage $185,400; Personal Property of
            Others Coverage $33,990; Equipment Breakdown
            Coverage; Commercial Inland Marine; Certified Acts of
            Terrorism Coverage.

            Provider: Liberty Mutual Insurance
            175 Berkeley Street
            Boston, MA 02116

            Agent: Fullerton Insurance Service, Inc.
            P.O. Box 4054
            Fullerton, CA 92834-4054                                                                                                      Unknown


            Anthem Silver PPO Plan
            1500/20%/6250 (1K8W)
            Provided by Blue Cross of California dba Anthem Blue
            Cross (Anthem)
            21555 Oxnard Street
            Woodland Hills, CA 91367                                                                                                      Unknown


            Anthem Gold HMO Plan
            35/20%/6000 (1K44)
            Provided by Blue Cross of California dba Anthem Blue
            Cross (Anthem)
            21555 Oxnard Street
            Woodland Hills, CA 91367                                                                                                      Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 7
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           Anthem Gold PPO Plan
           500/20%/4500 (1K46)
           Provided by Blue Cross of California dba Anthem Blue
           Cross (Anthem)
           21555 Oxnard Street
           Woodland Hills, CA 91367                                                                                                       Unknown


           Commercial Property Insurance
           Name of Insured: FireForge, Inc. d/b/a FirePub
           Policy No. BMO (17) 56 01 02 51
           (Effective: 3/4/2016-3/4/2017)

           Location of Property Insured:
           27261 Las Ramblas, Ste. 200
           Mission Viejo, CA 92691

           Policy Limits: Commerical Computer Coverage.
           Equipment $310,000 (all covered property in any one
           occurrence); Software $150,000 (all covered property in
           any one occurrence); Extra Expense $40,000 (all
           covered property in any one occurrence); Commercial
           Inland Marine Coverage; Certified Acts of Terrorism
           Coverage.

           Provider: Liberty Mutual Insurance
           175 Berkeley Street
           Boston, MA 02116

           Agent: Fullerton Insurance Service, Inc.
           P.O. Box 4054
           Fullerton, CA 92834-4054                                                                                                       Unknown


           BusinessPro Policy Common Insurance
           Name of Insured: FireForge, Inc. d/b/a FirePub
           Policy No. PL 1944738-02 (renewal of PL 1944738-01)
           (Effective: 3/4/2016-3/4/2017)

           Location of Property Insured:
           27261 Las Ramblas, Ste. 200
           Mission Viejo, CA 92691

           Policy Limits: Commerical General Liability Coverage

           Provider: Great American E & S Insurance Company
           301 E 4th Street
           Cincinnati, Ohio 45202-4201

           Agent: R-T Speciality Irvine
           2603 Main Street, Suite 800
           Irvine, CA 92614-4266                                                                                                          Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 8
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 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           FireForge 401(k) Profit Sharing Plan and Trust
           Plan No. 001, Plan ID: 678388
           Number of Participants: 17
           Effective Date of Plan: January 1, 2011                                                                                              $0.00


           Vision Service Plan ("VSP")
           Group Vision Care Plan
           Name of Insured: FireForge, Inc.
           Plan No. 30034510
           333 Quality Drive
           Rancho Cordova, CA 95670
           Effective: July 1, 2014 - June 30, 2016
           Term: Twenty-Four (24) Months                                                                                                  Unknown


           DeltaCare USA - provided by Delta Dental of California
           Name of Insured: FireForge, Inc.
           Plan CA11A
           17871 Park Plaza Drive, Suite 200
           Cerritos, CA 90703                                                                                                             Unknown




 78.       Total of Part 11.                                                                                                                 $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 9
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 Debtor          FireForge, Inc.                                                                                     Case number (If known) 8:16-bk-13001
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $10,798.05

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $18,019.06

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $40,956.60

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $55,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $124,773.71           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $124,773.71




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 10
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                   EXHIBIT A
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12446 FireForge, Inc.                                                                                                                     07/16/2016 9:57 AM
                                                   Book Asset Detail                   7/01/16 - 7/31/16
XX-XXXXXXX
FYE: 12/31/2016 Mth: 7/31/2016

      d                                      Date In      Book        Book Sec       Book Sal     Book Prior Book Current      Book        Book Net   Book   Book
Asset t        Property Description          Service      Cost        179 Exp    c    Value      Depreciation Depreciation   End Depr     Book Value Method Period FMV

Type: Computer

   19     3 Computers Hardrives Servers ‐ 6/23/11          2,783.96        0.00           0.00       2,783.96         0.00     2,783.96         0.00 S/L      5.00
   25     Project 2 Servers               7/07/11          2,916.56        0.00           0.00       2,916.56         0.00     2,916.56         0.00 S/L      5.00
   29     Network Switches & Enrollment f 7/15/11            164.82        0.00           0.00         164.80         0.02       164.82         0.00 S/L      5.00
   30     Perforce Server                 7/18/11          2,048.33        0.00           0.00       2,014.20        34.13     2,048.33         0.00 S/L      5.00
  175     Software                        9/03/13          2,681.36        0.00           0.00       2,532.40        74.48     2,606.88        74.48 Amort    3.00
  177     Software                        9/23/13          1,999.00        0.00           0.00       1,887.94        55.53     1,943.47        55.53 Amort    3.00
  188     Cisco Catalyst Switch           11/27/13         2,503.59        0.00           0.00       1,293.53        41.73     1,335.26     1,168.33 S/L      5.00
  189     Servers                         11/29/13         2,127.06        0.00           0.00       1,098.98        35.45     1,134.43       992.63 S/L      5.00
  190     Firewall                        11/29/13         5,609.20        0.00           0.00       2,898.09        93.49     2,991.58     2,617.62 S/L      5.00
  195     Hardware‐Amazon                 1/07/14          1,450.52        0.00           0.00         725.25        24.17       749.42       701.10 S/L      5.00
  196     Hardware‐ CDW Direct            1/09/14          3,307.86        0.00           0.00       1,653.93        55.13     1,709.06     1,598.80 S/L      5.00
  197     Servers‐ Hardware               1/10/14         15,475.80        0.00           0.00       7,737.90       257.93     7,995.83     7,479.97 S/L      5.00
  198     Laptop                          1/29/14          2,049.00        0.00           0.00         990.35        34.15     1,024.50     1,024.50 S/L      5.00
  199     Computer                        1/29/14          1,338.00        0.00           0.00         646.70        22.30       669.00       669.00 S/L      5.00
  203     Computer Equipment‐ Misc        2/26/14          5,294.03        0.00           0.00       3,462.72        76.30     3,539.02     1,755.01 200DB     5.0
  205     PCs‐                            2/11/14          2,161.32        0.00           0.00       1,403.92        31.56     1,435.48       725.84 200DB     5.0
  209     Guitar& Tablets                 3/14/14          5,254.22        0.00           0.00       2,451.96        87.57     2,539.53     2,714.69 S/L      5.00
  210     Tablets Returned                4/11/14         ‐2,082.26        0.00           0.00        ‐937.02       ‐34.70      ‐971.72    ‐1,110.54 S/L      5.00
  211     Dell‐ PCs                       5/21/14          3,881.67        0.00           0.00       1,617.36        64.69     1,682.05     2,199.62 S/L      5.00
  212     Dell Pcs‐ 5                     5/22/14          4,095.00        0.00           0.00       1,706.25        68.25     1,774.50     2,320.50 S/L      5.00
  213     VideoCards                      5/23/14         11,913.00        0.00           0.00       4,963.75       198.55     5,162.30     6,750.70 S/L      5.00
  214     Dell Computers‐ 16              6/10/14         13,104.00        0.00           0.00       5,460.00       218.40     5,678.40     7,425.60 S/L      5.00
  215     Hard Drives                     6/09/14          3,127.12        0.00           0.00       1,302.96        52.12     1,355.08     1,772.04 S/L      5.00
  216     Software‐ Misc                  6/10/14          7,808.49        0.00           0.00       5,422.57       216.90     5,639.47     2,169.02 Amort    3.00
  217     Computer Hardware               8/01/14         29,052.98        0.00           0.00      11,136.98       484.22    11,621.20    17,431.78 S/L      5.00
  218     Computer Software‐Perforce      9/08/14          7,200.00        0.00           0.00       4,400.00       200.00     4,600.00     2,600.00 Amort    3.00
  219     Computer‐ Hardware              9/09/14          8,686.99        0.00           0.00       3,185.23       144.78     3,330.01     5,356.98 S/L      5.00
  220     Software‐Misc                   9/15/14          7,734.54        0.00           0.00       4,726.33       214.85     4,941.18     2,793.36 S/L      3.00
  221     Computer Hardware               9/17/14          4,045.00        0.00           0.00       1,415.75        67.42     1,483.17     2,561.83 S/L      5.00
  222     Computer Hardware               10/15/14         3,360.31        0.00           0.00         588.06        28.00       616.06     2,744.25 S/L     10.00
  223     Computer‐Monitors               12/01/14         1,599.96        0.00           0.00         506.66        26.66       533.32     1,066.64 S/L      5.00
  224     CloudStep‐ Network Panels       1/15/15          3,579.96        0.00           0.00       1,073.99        59.66     1,133.65     2,446.31 S/L      5.00
  225     Computers ‐ 4                   6/15/15          4,311.64        0.00           0.00         934.18        71.87     1,006.05     3,305.59 S/L      5.00
  226     Asus                            7/30/15          1,652.38        0.00           0.00         302.94        27.54       330.48     1,321.90 S/L      5.00
  231     Perforce                        8/04/15          8,840.00        0.00           0.00       2,701.11       245.56     2,946.67     5,893.33 Amort    3.00
  232     Computer                        4/03/15          4,514.80        0.00           0.00       1,128.70        75.25     1,203.95     3,310.85 S/L      5.00
                                         Computer        185,590.21        0.00 c         0.00      88,298.99     3,353.96    91,652.95    93,937.26                 23,755.00

Type: Furniture & Fixtures

   97     Custom Table Top                   8/11/11       3,729.50        0.00           0.00       2,619.54        44.40     2,663.94     1,065.56 S/L      7.00
  105     2 Black Cabinets                   2/07/12         495.63        0.00           0.00         312.70         5.90       318.60       177.03 S/L      7.00
  110     Final Payment for Office Tables 9/14/11          1,604.12        0.00           0.00       1,107.61        19.10     1,126.71       477.41 S/L      7.00
  111     Installation of Table legs onto De 9/14/11         200.00        0.00           0.00         138.09         2.38       140.47        59.53 S/L      7.00
  184     Leasehold Improvements‐Bouqu 11/14/13           20,000.00        0.00           0.00      10,666.67       333.33    11,000.00     9,000.00 S/L      5.00
  202     Office Furnitures‐ Misc            2/28/14      71,699.60        0.00           0.00      34,072.98     1,045.19    35,118.17    36,581.43 200DB     7.0
  206     Office Furn‐ Returned              3/01/14      ‐9,311.06        0.00           0.00      ‐3,103.69      ‐110.84    ‐3,214.53    ‐6,096.53 S/L      7.00
  228     Office Interiors                   12/31/14      4,779.36        0.00           0.00       1,024.15        56.90     1,081.05     3,698.31 S/L      7.00
  229     Glass                              12/31/14      3,347.00        0.00           0.00         717.21        39.85       757.06     2,589.94 S/L      7.00
  230     Total Office                       12/31/14       ‐270.32        0.00           0.00         ‐57.93        ‐3.22       ‐61.15      ‐209.17 S/L      7.00
                                  Furniture & Fixtures    96,273.83        0.00 c         0.00      47,497.33     1,432.99    48,930.32    47,343.51                 17,201.60

Type: Leasehold Improvements

  191     Cables & Labor                 12/05/13         27,828.62        0.00           0.00      14,378.11       463.81    14,841.92    12,986.70 S/L      5.00
  200     Leasehold Impro‐Bouquet Const 1/07/14           22,500.00        0.00           0.00      11,250.00       375.00    11,625.00    10,875.00 S/L      5.00
  201     Leasehold Improv‐Bouquet Cons 1/24/14           29,093.82        0.00           0.00      14,062.01       484.90    14,546.91    14,546.91 S/L      5.00
  204     Leasehold Improv‐Misc          2/23/14          44,930.09        0.00           0.00      20,967.38       748.84    21,716.22    23,213.87 S/L      5.00
  208     Leasehold Impr‐ March          3/20/14          39,943.98        0.00           0.00      14,181.28       665.73    14,847.01    25,096.97 S/L      5.00
  227     Leasehold Improvements         12/31/14         12,024.43        0.00           0.00       3,607.33       200.41     3,807.74     8,216.69 S/L      5.00
                          Leasehold Improvements         176,320.94        0.00 c         0.00      78,446.11     2,938.69    81,384.80    94,936.14                        0

                                         Grand Total     458,184.98        0.00 c         0.00     214,242.43     7,725.64   221,968.07   236,216.91                 40,956.60
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                                                              Main Document    Page 15 of 48
 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)             8:16-bk-13001
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   MV Plaza, Inc.                                 Describe debtor's property that is subject to a lien                     $5,459.00               $18,019.06
       Creditor's Name                                Rent for Empty Suite 230
       c/o Olen Commercial
       Realty Corp.                                   Security Deposit for Office Building Lease
       Attn: Traci Zauner                             27261 Las Ramblas, Suite 250
       Seven Corporate Plaza                          Mission Viejo, CA 92691
       Newport Beach, CA 92660
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement
       daustin@olenproperties.co                      Is the creditor an insider or related party?
       m                                                 No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/18/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1250
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   MV Plaza, Inc.                                 Describe debtor's property that is subject to a lien                   $10,137.73                $18,019.06
       Creditor's Name                                July 2016 Rent and Late Fees for Suite 250
       c/o Olen Commercial
       Realty Corp.                                   Security Deposit for Office Building Lease
       Attn: Traci Zauner                             27261 Las Ramblas, Suite 250
       Seven Corporate Plaza                          Mission Viejo, CA 92691
       Newport Beach, CA 92660
       Creditor's mailing address                     Describe the lien
                                                      Lease Agreement
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/1/2016                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       FireForge, Inc.                                                                          Case number (if know)       8:16-bk-13001
              Name

        1250
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    THL A10 Limited                               Describe debtor's property that is subject to a lien                   $11,346,301.35    $11,221,527.64
        Creditor's Name                               Substantially all assets of the Debtor. UCC1
        Attn: Corporate Counsel                       attached as Exhibit "B" to Schedule D. Claim
        Level 29, Three Pacific                       Amount includes accured interest.
        Place
        1 Queen’s Road East, Hong
        Kong, CN
        CHINA
        Creditor's mailing address                    Describe the lien
                                                      UCC Lien (Del. SOS 2014-3518859)
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        August 31, 2014                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $11,361,898.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       08

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Tencent Holdings Limited
         Tencent Building, Keji Zhongyi Aven                                                                    Line   2.3
         Hi-Tech Park, Nanshan District
         Shenzhen 518057, PRC
         CHINA




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                   EXHIBIT B
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              Case 8:16-bk-13001-TA                           Doc 9 Filed 07/29/16 Entered 07/29/16 17:16:18                                           Desc
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 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           8:16-bk-13001
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,200.32         $3,200.32
           County of Orange                                          Check all that apply.
           Attn: Treasurer-Tax Collector                                Contingent
           P.O. Box 1438                                                Unliquidated
           Santa Ana, CA 92702-1438                                     Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     2016 Tax Year; Assessment No. 047793

           Last 4 digits of account number 4923                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $800.00         $800.00
           Franchise Tax Board                                       Check all that apply.
           Bankruptcy Section, MS A-340                                 Contingent
           P.O. Box 2952                                                Unliquidated
           Sacramento, CA 95812                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2016                                                      Franchise Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $2,843.86     $2,843.86
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $600.00      $600.00
           State of Delaware                                         Check all that apply.
           Division of Corporations                                     Contingent
           John G. Townsend Building                                    Unliquidated
           401 Federal Street, Ste. 4                                   Disputed
           Dover, DE 19901
           Date or dates debt was incurred                           Basis for the claim:
           2016                                                      Franchise Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $112,500.00          $12,850.00
           Timothy Campbell                                          Check all that apply.
           15 Chantilly Lane                                            Contingent
           Ladera Ranch, CA 92694                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Partial Reduced Salary Payments from
                                                                     9/15/2015-7/15/2016. No Payments from
           9/15/2015-7/15/2016                                       5/31/2016-7/15/2016.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $6,256.98
           ABD Insurance & Financial Services                                          Contingent
           3 Waters Park Drive                                                         Unliquidated
           San Mateo, CA 94403                                                         Disputed
           Date(s) debt was incurred 7/3/2016
                                                                                   Basis for the claim:     Insurance & Financial Services
           Last 4 digits of account number 3020
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 2 of 6
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 Debtor       FireForge, Inc.                                                                         Case number (if known)            8:16-bk-13001
              Name

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $124.46
          ADP, LLC                                                              Contingent
          1851 N Resler Drive, MS-600                                           Unliquidated
          El Paso, TX 79912                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Payroll Services
          Last 4 digits of account number       3418
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,806.50
          Alvarado Smith                                                        Contingent
          1 MacArthur Place, Suite 200                                          Unliquidated
          Santa Ana, CA 92707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,913.74
          Colorescience, Inc.                                                   Contingent
          Attn: David Crist                                                     Unliquidated
          2141 Palomar Airport Road, Ste. 200                                   Disputed
          Carlsbad, CA 92011
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $231.40
          Corporate Service Company                                             Contingent
          P.O. Box 13397                                                        Unliquidated
          Philadelphia, PA 19101-3397                                           Disputed
          Date(s) debt was incurred 12/2/2015
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number 4367
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59,687.50
          Discovery Economics Inc.                                              Contingent
          350 S. Grand Avenue, Suite 2200                                       Unliquidated
          Los Angeles, CA 90071                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,407.05
          Jon Gherardini                                                        Contingent
          27 Leicester Way                                                      Unliquidated
          Pawtucket, RI 02860                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,100.00
          Law Office of Jason Zedeck                                            Contingent
          P.O. Box 35210                                                        Unliquidated
          Los Angeles, CA 90035                                                 Disputed
          Date(s) debt was incurred 2/1/2016 - 2/29/2016
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number 9127
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 6
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 Debtor       FireForge, Inc.                                                                         Case number (if known)            8:16-bk-13001
              Name

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,286.00
          Liberty Mutual Insurance                                              Contingent
          P.O. Box 85834                                                        Unliquidated
          San Diego, CA 92186                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,445.50
          McCarter & English, LLP                                               Contingent
          265 Franklin Street                                                   Unliquidated
          Boston, MA 02110-3113                                                 Disputed
          Date(s) debt was incurred 12/31/2014
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number 6953
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Min Productions Pte. Ltd.                                             Contingent
          Tras Street 171
                                                                                Unliquidated
          07 Singapore
          SINGAPORE                                                             Disputed

          Date(s) debt was incurred June 18, 2014                                             Min Productions Pte. Ltd v. FireForge, Inc., et al.
                                                                             Basis for the claim:
          Last 4 digits of account number                                    U.S. District Court, Central District of California,
                                                                             Case No. SA CV14 00941-MMM (RZx)
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,066.75
          Motion Media, LLC                                                     Contingent
          Attn: Brian Gorne                                                     Unliquidated
          709 N. Douglas Street                                                 Disputed
          El Segundo, CA 90245
                                                                                            Trade Debt
                                                                             Basis for the claim:
          Date(s) debt was incurred 1/21/2016; 2/10/2016
                                                                             Invoice Nos. MM1100500 and MM1100607
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,840.00
          Perforce                                                              Contingent
          P.O. Box 742263                                                       Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $610.21
          Premium Assignment                                                    Contingent
          3522 Thomasville Rd., Ste 400                                         Unliquidated
          Tallahassee, FL 32309                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $418,917.28
          Raines Feldman LLP                                                    Contingent
          Attn: Robert Pardo                                                    Unliquidated
          9720 Wilshire Blvd., 5th Floor                                        Disputed
          Beverly Hills, CA 90212
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred February 18, 2016
          Last 4 digits of account number 3001                               Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 6
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              Name

 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Richard J. Land, Receiver                                            Contingent
           Chace Ruttenberg & Freedman, LLP
                                                                                Unliquidated
           One Park Row, Suite 300
           Providence, RI 02903                                                 Disputed

           Date(s) debt was incurred August 28, 2014                                         Land v. FireForge, Inc., et al.
                                                                             Basis for the claim:
           Last 4 digits of account number                                   Superior Court of Rhode Island, Providence County
                                                                             Case No. 2014-4300
                                                                             Is the claim subject to offset?         No    Yes

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,500.00
           SGK Service Inc.                                                     Contingent
           3494 Camino Tassajara, #403                                          Unliquidated
           Danville, CA 94506                                                   Disputed
           Date(s) debt was incurred 1/7/2016
                                                                             Basis for the claim:    Trade Debt (Kitchen)
           Last 4 digits of account number 4391
                                                                             Is the claim subject to offset?         No    Yes

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $29,765.81
           White and Williams LLP                                               Contingent
           Attn: James F. Coffey                                                Unliquidated
           101 Arch Street, Suite 1930                                          Disputed
           Boston, MA 02110-1103
                                                                                             Legal Fees
                                                                             Basis for the claim:
           Date(s) debt was incurred 2/29/2016-3/31/2016
                                                                             Invoice No. 584668
           Last 4 digits of account number 0001
                                                                             Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       ABD Insurance & Financial Services
           450 Sansome St., Ste. 300                                                                  Line     3.1
           San Francisco, CA 94111-3311
                                                                                                             Not listed. Explain

 4.2       Corporate Service Company
           2711 Centerville Road, Suite 400                                                           Line     3.5                                  4367
           Wilmington, DE 19808
                                                                                                             Not listed. Explain

 4.3       Gerard P. Fox, Esq.
           Law Offices of Gerard Fox, Inc.                                                            Line     3.11
           1880 Century Park East, Suite 815
                                                                                                             Not listed. Explain
           Los Angeles, CA 90067

 4.4       IPFS Corporation
           P.O. Box 412086                                                                            Line     3.1
           Kansas City, MO 64141-2086
                                                                                                             Not listed. Explain

 4.5       McCarter & English, LLP
           100 Mulberry St.                                                                           Line     3.10
           Newark, NJ 07102
                                                                                                             Not listed. Explain




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 Debtor       FireForge, Inc.                                                                     Case number (if known)          8:16-bk-13001
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.6       Robert D. Fine, Esq.
           Chace Ruttenberg & Freedman, LLP                                                      Line     3.16
           One Park Row, Suite 300
                                                                                                        Not listed. Explain
           Providence, RI 02903

 4.7       State of Delaware
           Division of Corporations                                                              Line     2.4
           P.O. Box 5509
                                                                                                        Not listed. Explain
           Binghamton, NY 13902-5509

 4.8       White and Williams LLP
           1650 Market Street                                                                    Line     3.18
           One Liberty Place, Ste. 1800
                                                                                                        Not listed. Explain
           Philadelphia, PA 19103


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    119,944.18
 5b. Total claims from Part 2                                                                       5b.    +     $                    594,959.18

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      714,903.36




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 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:16-bk-13001
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Sublease with
             lease is for and the nature of               Colorescience, Inc. and
             the debtor's interest                        Debtor for property
                                                          located at 27261 Las
                                                          Ramblas, Suite 200,
                                                          Mission Viejo,
                                                          California for three (3)
                                                          years and three (3)
                                                          months beginning on
                                                          September 1, 2013 and
                                                          ending on November
                                                          30, 2016. Monthly
                                                          installments of base
                                                          rent $9,856.60.
                  State the term remaining                5 Months                   Colorescience, Inc.
                                                                                     Attn: David Crist
             List the contract number of any                                         2141 Palomar Airport Road, Ste. 200
                   government contract                                               Carlsbad, CA 92011


 2.2.        State what the contract or                   Three (3) year Service
             lease is for and the nature of               Agreement with Debtor
             the debtor's interest                        and Cox
                                                          Communications
                                                          Californa, LLC for
                                                          internet services
                                                          executed February 25,
                                                          2014.
                  State the term remaining                8 Months
                                                                                     Cox Communications
             List the contract number of any                                         P.O. Box 53280
                   government contract                                               Phoenix, AZ 85072-3280




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 3
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 Debtor 1 FireForge, Inc.                                                                    Case number (if known)   8:16-bk-13001
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.3.        State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated July
             the debtor's interest                        14, 2016 between
                                                          Debtor and Frank Hsu
                                                          ("Contractor") to retain
                                                          Contractor as Manager
                                                          through August 15,
                                                          2016 to assist counsel
                                                          and the Trustee.
                  State the term remaining                1 Month
                                                                                     Frank Hsu
             List the contract number of any                                         17750 Sacuillo St.
                   government contract                                               Fountain Valley, CA 92708


 2.4.        State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated July
             the debtor's interest                        14, 2016 between
                                                          Debtor and Michael
                                                          Love ("Contractor") to
                                                          retain Contractor as
                                                          Network Administrator
                                                          through August 15,
                                                          2016 to assist counsel
                                                          and the Trustee.
                  State the term remaining                1 Month
                                                                                     Michael Love
             List the contract number of any                                         1259 N Minot Street
                   government contract                                               Anaheim, CA 92801


 2.5.        State what the contract or                   Office building lease
             lease is for and the nature of               for 27261 Las Ramblas,
             the debtor's interest                        Suites 200, 220, 230,
                                                          and 250, Mission Viejo,
                                                          California dated August
                                                          21, 2013. Lease
                                                          commenced October 1,
                                                          2013 and is to expire on
                                                          November 30, 2016.
                                                          Monthly installments of
                                                          base rent $8,245.00.
                                                          Lease
                                                          HO6354-MVP261-250.         MV Plaza, Inc.
                  State the term remaining                4 years, 8 months          Olen Commercial Realty Corp.
                                                                                     Attn: Traci Zauner
             List the contract number of any                                         Seven Corporate Plaza
                   government contract                                               Newport Beach, CA 92660


 2.6.        State what the contract or                   Three (3) year
             lease is for and the nature of               Commercial Sales
             the debtor's interest                        Agreement with Debtor
                                                          and Tyco Integrated
                                                          Security dated             Tyco Integrated Security LLC
                                                          December 12, 2013.         P.O. Box 371967
                  State the term remaining                6 Months                   Pittsburgh, PA 15250-7967
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 3
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 Debtor 1 FireForge, Inc.                                                                    Case number (if known)   8:16-bk-13001
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:16-bk-13001
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Derek Dupras                      208 Wichita Ave, Apt #2                           Richard J. Land,                   D
                                               Huntington Beach, CA 92648                        Receiver                           E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                                    G
                                               Unliquidated




    2.2      FirePub, Inc.                     27261 Las Ramblas, Suite 200                      Richard J. Land,                   D
                                               Mission Viejo, CA 92691                           Receiver                           E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                                    G
                                               Unliquidated




    2.3      Jon Gherardini                    27 Leicester Way                                  Richard J. Land,                   D
                                               Pawtucket, RI 02860                               Receiver                           E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                                    G
                                               Unliquidated




    2.4      Jon M. Charette                   46 Robert Hill Drive                              Richard J. Land,                   D
                                               North Attleboro, MA 02760                         Receiver                           E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                                    G
                                               Unliquidated




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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 Debtor       FireForge, Inc.                                                           Case number (if known)   8:16-bk-13001


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.5      Joshua Galvin                     28 Bayley St., Apt. 107                       Richard J. Land,                D
                                               Pawtucket, RI 02860                           Receiver                        E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                             G
                                               Unliquidated




    2.6      Paul Freeman                      164 W. Acton Road                             Richard J. Land,                D
                                               Stow, MA 01775                                Receiver                        E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                             G
                                               Unliquidated




    2.7      Timothy                           15 Chantilly Lane                             Min Productions Pte.            D
             Campbell                          Ladera Ranch, CA 92694                        Ltd.                            E/F       3.11
                                               Claim is Disputed, Contingent, and
                                                                                                                             G
                                               Unliquidated




    2.8      William Mrochek                   200 Legion Way                                Richard J. Land,                D
                                               Cranston, RI 02910                            Receiver                        E/F       3.16
                                               Claim is Disputed, Contingent, and
                                                                                                                             G
                                               Unliquidated




Official Form 206H                                                       Schedule H: Your Codebtors                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         FireForge, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         8:16-bk-13001
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,536,900.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,543,600.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,806,378.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       FireForge, Inc.                                                                           Case number (if known) 8:16-bk-13001



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Anthem Blue Cross and Blue Shield                           5/19/2016;                       $19,307.94           Secured debt
               P.O. Box 430                                                6/9/2016;                                             Unsecured loan repayments
               North Haven, CT 06473                                       7/6/2016                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Barrington Legal                                            5/19/2016                        $12,500.00           Secured debt
               11601 Wilshire Boulevard 500                                                                                      Unsecured loan repayments
               Los Angeles, CA 90025                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Lake, Du & Associates                                       5/19/2016                        $12,093.06           Secured debt
               444 W Ocean Blvd., Ste 800                                  ($3,093.06);                                          Unsecured loan repayments
               Long Beach, CA 90802                                        6/10/2016                                             Suppliers or vendors
                                                                           ($3,000.00);
                                                                                                                                 Services
                                                                           7/14/2016
                                                                           ($3,000.00);                                          Other
                                                                           7/15/2016
                                                                           ($3,000.00).
       3.4.
               Colorescience, Inc.                                         5/25/2016                        $10,456.87           Secured debt
               Attn: David Crist                                                                                                 Unsecured loan repayments
               2141 Palomar Airport Road, Ste. 200
                                                                                                                                 Suppliers or vendors
               Carlsbad, CA 92011
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               MV Plaza Inc.                                               5/25/2016                        $20,305.46           Secured debt
               c/o Olen Commercial Realty                                  ($9,621.83);                                          Unsecured loan repayments
               Seven Corporate Plaza                                       6/20/2016
                                                                                                                                 Suppliers or vendors
               Newport Beach, CA 92660                                     ($10,683.63)
                                                                                                                                 Services
                                                                           for Suite 250.
                                                                                                                                 Other


       3.6.
               MV Plaza Inc.                                               5/25/2016                        $17,983.51           Secured debt
               c/o Olen Commercial Realty                                  ($11,133.90);                                         Unsecured loan repayments
               Seven Corporate Plaza                                       6/20/2016
                                                                                                                                 Suppliers or vendors
               Newport Beach, CA 92660                                     ($5,000.00);
                                                                                                                                 Services
                                                                           6/20/2016
                                                                           ($1,849.61)                                           Other
                                                                           for Suite 230.

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Frank Hsu                                                   08/11/2015                       $25,912.54         Employee reimbursements and
               17750 Sacuillo St.                                          ($3,094.17);                                        payment for services as an
               Fountain Valley, CA 92708                                   10/06/2015                                          independent contractor.
               Shareholder; Employee; Contracted                           ($1,353.32);
               Manager                                                     10/26/2015
                                                                           ($859.06);
                                                                           12/24/2015
                                                                           ($569.07);
                                                                           12/24/2015
                                                                           ($781.21);
                                                                           12/24/2015
                                                                           ($847.09);
                                                                           02/08/2016
                                                                           ($331.00);
                                                                           02/08/2016
                                                                           ($434.88);
                                                                           02/08/2016
                                                                           ($5,083.00);
                                                                           02/08/2016
                                                                           ($2,711.97);
                                                                           03/04/2016
                                                                           ($87.38);
                                                                           03/15/2016
                                                                           ($638.04);
                                                                           03/22/2016
                                                                           ($334.07);
                                                                           04/04/2016
                                                                           ($361.88);
                                                                           05/19/2016
                                                                           ($93.06);
                                                                           07/15/2016
                                                                           ($8,333.34).

       4.2.    Scott Whittington                                           2/2/2016                         $25,000.00         Repayment of advance
               2226 Archway
               Irvine, CA 92618
               Shareholder; Former Employee

       4.3.    Phil Stalker                                                2/4/2016                         $45,000.00         Repayment of advance
               2384 Back Nine Street
               Oceanside, CA 92056-1701
               Shareholder

       4.4.    Derek Dupras                                                11/27/2015                         $8,040.07        Final Paycheck +PTO
               208 Wichita Ave., #2
               Huntington Beach, CA 92648
               Shareholder




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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.5.    FirePub, Inc.                                               7/24/2015                       $426,000.00           Investments
               27261 Las Ramblas, Suite 200                                ($78,000.00);
               Mission Viejo, CA 92691                                     8/13/2015
               Subsidiary                                                  ($77,000.00);
                                                                           8/25/2015
                                                                           ($87,500.00);
                                                                           9/14/2015
                                                                           ($59,000.00);
                                                                           9/29/2015
                                                                           ($35,500.00);
                                                                           10/13/2015
                                                                           ($44,000.00);
                                                                           10/29/2015
                                                                           ($29,000.00);
                                                                           11/12/2015
                                                                           ($16,000.00).

       4.6.    FireForge PTE                                               8/4/2015                         $26,000.00           Investments
               27261 Las Ramblas, Suite 200                                ($16,000.00);
               Mission Viejo, CA 92691                                     12/24/2015
               Subsidiary                                                  ($10,000.00).

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address




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               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Richard J. Land, in his                          Breach of                  State of Rhode Island,                      Pending
               capacity as Receiver of each                     Contract,                  Providence County                           On appeal
               of 38 Studios, LLC, 38                           Conversion,                Superior Court
                                                                                                                                       Concluded
               Studios Baltimore, LLC,                          Violation of               Licht Judicial Complex
               Mercury Project, LLC, and                        Uniform Trade              250 Benefit Street
               Precision Jobs, LLC v.                           Secrets Act,               Providence, RI 02903
               FireForge, Inc., FirePub, Inc.,                  Unfair
               William Mrochek, Derek                           Competition,
               Dupras, Paul Freeman, Jon                        Computer Theft,
               Gherardini, Joshua Galvin,                       Unlawful
               and Jon M. Charette.                             Appropriation,
               C.A. No. PB2014-4300                             Tortious
                                                                Interference with
                                                                Contractual
                                                                Relations, Civil
                                                                Conspiracy.

       7.2.    MIN Productions Pte. Ltd. vs.                    Complaint filed            United States District Court                Pending
               FireForge, Inc., Timothy                         6/18/2014 for: (1)         Central District of California              On appeal
               Campbell, and Does 1                             Breach of                  Southern Division - Santa
                                                                                                                                       Concluded
               through 10.                                      Contract; (2)              Ana
               Case No. 14-CV-00941                             Breach of                  312 N. Spring Street, Room
               –MMM-(RZx)                                       Covenant of Good           G-8
                                                                Faith and Fiar             Los Angeles, CA 90012
                                                                Dealing; (3)
                                                                Conversion; (4)
                                                                Unjust
                                                                Enrichment; (5)
                                                                Fraud; (6)
                                                                Violations of Cal.,
                                                                Bus. & Prof. Code
                                                                §17200 et seq.; (7)
                                                                Declaratory Relief.
                                                                Counter-Claim
                                                                filed 7/9/2015.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                           Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss            Value of property
       how the loss occurred                                                                                                                                   lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Macdonald Fernandez LLP
                 221 Sansome Street, Third
                 Floor
                 San Francisco, CA 94104                             Wire Transfer                                             3/4/2016                $40,000.00

                 Email or website address
                 www.macfern.com

                 Who made the payment, if not debtor?
                 FireForge, Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers             Total amount or
                                                                                                                       were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer             Total amount or
                Address                                         payments received or debts paid in exchange              was made                           value
       13.1 Miscellaneous CraigsList                            Miscellaneous Property Sold. See
       .    Members                                             attached Exhibit "1" to Statement of                     7/1/2016 -
                                                                Financial Affairs for further details.                   7/10/2016                       $5,800.00

                Relationship to debtor
                N/A


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     8105 Irvine Center Drive, Suite 200                                                                       April 2011 - February 2014
                 Irvine, CA 92618-3096

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services           If debtor provides meals
                                                                the debtor provides                                                    and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    FireForge Inc 401K Profit Sharing Plan and Trust                                           EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred




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                 Financial Institution name and                 Last 4 digits of          Type of account or          Date account was             Last balance
                 Address                                        account number            instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred
       18.1.     Union Bank                                     XXXX-3728                    Checking                 Closed 5/12/2016                      $0.00
                 PO Box 513840                                                               Savings
                 Los Angeles, CA 90051-3840
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                             Value
       FireForge 401(k)                                                                                   FireForge 401(k) Profit                 $416,601.00
       Profit Sharing Plan & Trust                                                                        Sharing Plan and Trust
                                                                                                          Plan No. 001, Plan ID: 678388
                                                                                                          Number of Participants: 17
                                                                                                          Effective Date of Plan:
                                                                                                          January 1, 2011
                                                                                                          Period: January 1, 2015 -
                                                                                                          December 31, 2015
                                                                                                          Value as of Plan as of
                                                                                                          December 31, 2015


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    FireForge PTE                                    Video Game Design                                EIN:         N/A
             71 Ayer Rajah Crescent
             Singapore 139951                                                                                  From-To      -2016
             SINGAPORE

    25.2.    FH02 Limited                                     Video Game Design                                EIN:         N/A
             18 South Street
             London, W1K 1DE                                                                                   From-To      -2016
             UNITED KINGDOM

    25.3.    FirePub, Inc.                                    Video Game Design                                EIN:         XX-XXXXXXX
             27261 Las Ramblas, Suite
             200                                                                                               From-To      2012-2016
             Mission Viejo, CA 92691


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None




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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Lake, Du & Associates
                    Attn: Christopher Du, CPA
                    444 W Ocean Blvd., Ste 800
                    Long Beach, CA 90802

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Citizens Bank, N.A.                                                                      Citizens Bank, N.A. was required to comply
                    c/o Grace M. Loras, Keeper of Records                                                    with a subpoena issued by MIN Productions
                    One Citizens Drive                                                                       PTE Ltd. in MIN Productions Pte. Ltd. vs.
                    ROP 210                                                                                  FireForge, Inc. (Case No. 14-CV-00941
                    Riverside, RI 02915                                                                      -MMM-(RZx).
       26c.2.       Lake, Du & Associates
                    Attn: Christopher Du, CPA
                    6080 Center Drive, Suite 600
                    Los Angeles, CA 90045
       26c.3.       Timothy Campbell


       26c.4.       Frank Hsu



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Blue Heron Ventures, Inc.                      1875 Century Park East, Ste. 2060                   60,000 Shares-Series A                2.50%
                                                      Los Angeles, CA 90067                               Preferred




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       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Bo Wang                                        c/o Tencent Holdings Ltd.                           Director                             N/A
                                                      Keji Zhongyi Aven, High-Tech Park
                                                      Nanshan District, Shenzhen 518057,
                                                      PRC
                                                      CHINA
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Chris Karkenny                                 732 The Strand                                      50,000 Shares-Series A               0.50%
                                                      Hermosa Beach, CA 90254                             Preferred
                                                                                                          50,000 Shares-Common Stock
                                                                                                          Options
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Christophe & Laetitia Chaix                    House 2, Royal Bay                                  25,000 Shares-Series A               0.12%
                                                      82 Chung Hom Kok Road                               Preferred
                                                      Hong Kong
                                                      CHINA
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Daniel Shi                                     2650 California St., Apt. 86                        50,000 Shares-Common Stock           0.25%
                                                      Mountain View, CA 94040                             Options

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Derek Dupras                                   208 Wichita Ave, Apt #2                             400,000 Shares-Common                2.00%
                                                      Huntington Beach, CA 92648                          Stock

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Devin Winterbottom                             691 St. Anns Drive                                  400,000 Shares-Common                2.00%
                                                      Laguna Beach, CA 92651                              Stock

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Frank Hsu                                      17750 Sacuillo St.                                  Director of Facilities               0.18%
                                                      Fountain Valley, CA 92708                           35,289 Shares-Series A
                                                                                                          Preferred
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Grind Games, Inc.                              9595 Wilshire Blvd., PH 1001                        40,000 Shares-Series A               0.57%
                                                      Beverly Hills, CA 90210                             Preferred
                                                                                                          75,000 Shares-Common Stock
                                                                                                          Options
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Harolyn Glicker Trust                          10743 Northgreen Drive                              125,692 Shares-Series A              0.63%
                                                      Lake Worth, FL 33449                                Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Harvey Glicker Trust                           10743 Northgreen Drive                              75,577 Shares-Series A               0.38%
                                                      Lake Worth, FL 33449                                Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Jack Lin                                       22176 Tama Drive                                    100,000 Shares-Common                0.50%
                                                      Lake Forest, CA 92630                               Stock Options




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       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Jay Hathaway                                   9225 La Barca Circle                                25,178 Shares-Series A               0.13%
                                                      Fountain Valley, CA 92708                           Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       John Larrimer                                  2186 East Broad Street                              38,188 Shares-Series A               0.19%
                                                      Columbus, OH 43209                                  Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       John Staats                                    517 Jasmin Ave.                                     Director                             7.19%
                                                      Corona Del Mar, CA 92625                            1,391,047 Shares-Series A
                                                                                                          Preferred
                                                                                                          50,000 Shares-Common Stock
                                                                                                          Options
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Joshua Doolittle                               704 Loma Prieta Drive                               20,109 Shares-Series A               0.10%
                                                      Aptos, CA 95003                                     Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Ker Ventures, LLC                              40 East 78th Street, Apt. 15F                       150,000 Shares-Series A              0.57%
                                                      New York, NY 10075                                  Preferred
                                                                                                          150,000 Shares-Common
                                                                                                          Stock Options
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Kevin Beardslee                                4 Cleome Street                                     1,110,479 Shares-Common              5.54%
                                                      Ladera Ranch, CA 92694                              Stock

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Phil Stalker                                   2384 Back Nine Street                               101,038 Shares-Series A              0.50%
                                                      Oceanside, CA 92056-1701                            Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Roark Capital LTD                              P.O. Box 957                                        809,281 Shares-Common                4.04%
                                                      Offshore Corporations Center                        Stock
                                                      Road Town, Tortola
                                                      BRITISH VIRGIN ISLANDS
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       QED Associates                                 171 Pier Avenue #167                                25,000 Shares-Series A               0.12%
                                                      Santa Monica, CA 90405                              Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Sam Winterbottom                               66 Old Fuller Mill Rd.                              50,412 Shares-Series A               0.25%
                                                      Marietta, GA 30067                                  Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Scott Whittington                              2226 Archway                                        10,078 Shares-Series A               0.05%
                                                      Irvine, CA 92618                                    Preferred




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 Debtor      FireForge, Inc.                                                                            Case number (if known) 8:16-bk-13001



       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Shawn Carnes                                   202 Royalty Rd.                                     5,027 Shares-Series A                0.03%
                                                      Charlottetown, PE                                   Preferred
                                                      C1E 3E2
                                                      CANADA
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       SLP Ventures II, LLC                           4166 Woodleigh Lane                                 50,000 Shares-Series A               0.25%
                                                      La Canada Flintridge, CA 91011                      Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Stephen Glicker                                16 Continental Road                                 125,863 Shares-Series A              0.63%
                                                      Scarsdale, NY 10583                                 Preferred

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       THL A10 Limited                                Attn: Corporate Counsel                             7,500,000 Shares-Series B            37.41%
                                                      Level 29, Three Pacific Place                       Preferred
                                                      1 Queen's Road East, Hong Kong
                                                      CHINA
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Timothy Campbell                               15 Chantilly Lane                                   Chief Executive Officer;             26.80%
                                                      Ladera Ranch, CA 92694                              Director
                                                                                                          5,373,044 Shares-Common
       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Yik Lin Khoo                                   1 Limbok Terrace                                    50,000 Shares-Common Stock           1.25%
                                                      Parry Green                                         200,000 Shares-Common
                                                      Singapore (545167)                                  Stock Options
                                                      REPUBLIC OF SINGAPORE


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Frederic Chesnais                              40 East 78th Street, Apt. 15F                       Board of Directors             - January 12, 2016
                                                      New York, NY 10075


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.




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 Debtor      FireForge, Inc.                                                                            Case number (if known) 8:16-bk-13001



               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Kevin Beardslee
       .    4 Cleome Street
               Ladera Ranch, CA 92694                           $164,043.38                                              Various           Payroll

               Relationship to debtor
               Shareholder and Former
               Employee


       30.2 Timothy Campbell
       .    15 Chantilly Lane
               Ladera Ranch, CA 92694                           $207,692.31                                              Various           Payroll

               Relationship to debtor
               Shareholder and Officer


       30.3 Frank Hsu
       .    17750 Sacuillo St.
               Fountain Valley, CA 92708                        $83,593.81                                               Various           Payroll

               Relationship to debtor
               Shareholder and Former
               Employee


       30.4 Devin Winterbottom
       .    691 St. Anns Drive
               Laguna Beach, CA 92651                           $32,235.07                                               Various           Payroll

               Relationship to debtor
               Shareholder and Former
               Employee


       30.5 Scott Whittington
       .    2226 Archway
               Irvine, CA 92618                                 $54,273.49                                               Various           Payroll

               Relationship to debtor
               Shareholder and Former
               Employee


       30.6 John Staats
       .    517 Jasmine Avenue
               Corona Del Mar, CA 92625                         $25,000.44                                               Various           Payroll

               Relationship to debtor
               Shareholder and Former
               Employee


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    FirePub, Inc. (subsidiary)                                                                                 EIN:        XX-XXXXXXX



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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 29, 2016

 /s/ Timothy Campbell                                                   Timothy Campbell
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President and Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                        EXHIBIT 1
   to Statement of Financial Affairs
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                                      Liquidation Sale Tracker
07/01/16   Private (Craigs List ‐ Lou)                                                  $     30
           ‐ 2 IKEA Expedite 2x4 bookcases ($15 each)
07/02/16   Private (Jenn)                                                               $     45
           ‐ 3 IKEA Expedite 2x4 bookcases ($15 each)
07/05/16   Private (Craigs List ‐ Eric)                                                 $     90
           ‐ 2 IKEA Expedite 5x5 bookcases ($30 each)
           ‐ 2 IKEA Expedite 2x4 bookcases ($15 each)
07/05/16   Private (CraigsList ‐ Henry)                                                 $    105
           ‐ 7 IKEA Billy bookcases ($15 each)
07/05/16   Private (CraigsList ‐ Dale)                                                  $     30
           ‐ 2 IKEA Expedite 2x4 bookcases ($15 each)
07/05/16   Private (CraigsList ‐ Mike)                                                  $     60
           ‐ 1 IKEA Expedite 5x5 bookcases ($30 each)
           ‐ 2 IKEA Expedite 2x4 bookcases ($15 each)
07/06/16   Private (Craigs List ‐ Jay)                                                  $     30
           ‐ 3 IKEA Expedite 4x4 bookcases ($10 each ‐ more scratches)
07/06/16   Private (Craigs List ‐ Jeff)                                                 $    160
           ‐ 2 IKEA Expedite 4x4 bookcases ($25 each)
           ‐ 1 IKEA Expedite 5x5 bookcases ($30 each)
           ‐ 4 task chairs ($20 each)
07/06/16   Private (Richard)                                                            $     40
           ‐ 2 small end tables ($20 each)
07/07/16   Private (Jean)                                                               $     40
           ‐ 1 IKEA Besta TV Console ($20 each)
           ‐ 2 IKEA Besta Shelf Unit ($10 each)
07/07/16   Private (Mike)                                                               $    200
           ‐ 2 World Market Double Shutter Doors Holbrook ($100 each)
07/07/16   Private (CraigsList ‐ Mark)                                                  $   1,180
           ‐ 1 World Market Wood and Metal Aiden Coffee Table ($50)
           ‐ 2 World Market Wood and Metal Aiden Étagère ($50 each)
           ‐ 1 World Market 3‐Shelf Wooden Gavin Rolling Cart ($30)
           ‐ 1 World Market 3‐Shelf Jayden Metal Shelf Unit ($30)
           ‐ 2 World Market Double Shutter Doors Holbrook ($100 each)
           ‐ 1 World Market Round Weathered Gray Wood Coffee Table ($60)
           ‐ 2 World Market Coffee Victoria Velvet Tufted High‐Back Chair ($100 each)
           ‐ 1 TV ‐ Samsung 55" HDTV ($200)
           ‐ 1 World Market Hudon Pub Table ($50)
           ‐ 4 World Market Hudon Pub Chairs ($30 each)
           ‐ 2 World Market Bryant Mobile Kitchen Cart ($100)

07/08/16   Private (Craigslist ‐ Mark)                                                  $    250
           ‐ TV ‐ Samsung 60" HDTV ($250)
07/08/16   Private (CraigsList ‐ Benjamin)                                              $    200
           ‐ 10 Task Chairs ($20 each)
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07/08/16   Private (CraigsList ‐ Mike)                                                      $   1,470
           ‐ 1 Fridge w/ Water ($500)
           ‐ 1 Fridge w/o Water ($400)
           ‐ 1 70" Sony HDTV ($500)
           ‐ 2 IKEA Nockeby Sofa ($25 each)
           ‐ 1 IKEA Expedite Bookcase ‐ 4x4 ($10 each)
           ‐ 1 Fan ($10 each)
07/08/16   Private (CraigsList ‐ Steve)                                                     $    830
           ‐ Living Spaces ‐ Alenya Charcoal Queen Sofa Sleeper (3‐piece set) ‐ $250
           ‐ World Market Farmhouse Barn Wood and Metal Storage ‐ $350
           ‐ Samsung 60" HDTV ‐ $220
           ‐ 1 Fan ‐ $10
07/08/16   Private (CraigsList ‐ Chris)                                                     $    500
           ‐ 1 70" TV ($500)
07/09/16   Private (CraigsList ‐ Chelsea)                                                   $    220
           ‐ 1 Living Spaces ‐ Tahoe Dinning Table ($220)
07/09/16   Private (CraigsList ‐ Vic)                                                       $    190
           ‐ 1 File Cabinets ‐ dark wood ‐ 2‐drawer filer + 2 door cabinet ($120 each)
           ‐ 1 File Cabinets ‐ dark wood ‐ 2‐drawer filer ($70 each)

07/10/16   Private (CraigsList ‐ Anna)                                                      $    130
           ‐ 2 IKEA Bjursta Bench ($20 each)
           ‐ 2 Guest Chairs ($20 each)
           ‐ 2 Small Roller Stools ($20 each)
           ‐ 1 Fan ($10 each)

                                                                              RUNNING TOTAL $   5,800
